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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS




Mason Woolley                                        )
434 N Pleasant Street                                )
Amherst, Massachusetts 01003                         )
                                                      )
                             Plaintiff,               )                    Civil Action No:
                                                      )                    3:19-cv-30004-MGM
          V.                                         )
University of Massachusetts                           )
181 President’s Drive                                )
Amherst, Massachusetts;                               )
                                                      )
                                                      )
                                                       )
                                                      )
                                                      )
                                                      )
                            Defendants,               )
_______________________________________________________




PLANTIFF’S MOTION FOR LEAVE TO FILE A RESPONSE TO OPPOSITION MOTION



Plaintiff asks the court for permission to file a response to defendant’s opposition motion to preliminary

injunction.
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                                                   Respectfully submitted,




                                                   /S/   Mason Woolley
                                                 434 North Pleasant Street
                                                  Amherst, Massachusetts
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                                                           828-237-3605
                                                                   Pro Se
